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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE
                                                         Case No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,


                    Plaintiffs,
                           v.


 MAZARS USA LLP,


                    Defendant,


 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                    Intervenor-Defendant.


            NOTICE OF RECENT OFFICE OF LEGAL COUNSEL OPINION

        Intervenor-Defendant Committee on Oversight and Reform of the United States House of

Representatives gives notice that on July 30, 2021, the Department of Justice Office of Legal

Counsel (OLC) issued the memorandum opinion attached as Exhibit A. In the opinion, OLC

concluded that the Secretary of the Treasury must comply with a Congressional request for tax and

financial information related to former President Trump and his businesses. Much of the analysis in

the opinion also supports the enforceability of the subpoena in this case, which likewise furthers “a

plainly legitimate area for congressional inquiry and possible legislation.” Op. 4.
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        Consistent with Executive Branch and judicial precedent, OLC concluded that, “[e]ven if”

separation-of-powers concerns were to “inform analysis” of a Congressional request for a former

President’s information, such separation-of-powers concerns “would be much less pronounced after

a President leaves office and returns to life as a private citizen.” Op. 28 (citing A Sitting President’s

Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222, 246–57 (2000)). “This is

especially true where, as here, the request does not seek disclosure of privileged presidential

communications or seek to impose costs on the President for acts taken in his official capacity.”

Op. 29; see also Op. 28 (describing the Supreme Court’s Mazars test as applying only to cases

involving “a sitting President”).

        In its opinion, OLC emphasized that “Courts generally presume that Executive and

Legislative Branch officials act in good faith and in furtherance of legitimate objectives.” Op. 19. In

particular, the memorandum noted that it “is generally irrelevant” that a Congressional request

might serve Congressmembers’ political interests because Congress is a political body, and it is

therefore “neither unusual nor illegitimate for partisan or other political considerations to factor into

Congress’s work.” Op. 26; see id. (“[M]ixed congressional motivations are commonplace.”). OLC

also dismissed the concern that the request in that case involved an illegitimate Presidential “case

study” because the Congressional committee there was investigating not “‘general’ topics distinct

from the presidency, but . . . an auditing program specific to the presidency and oversight concerns

particular to President Trump.” Op. 29.




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Dated: August 3, 2021                     /s/ Douglas N. Letter
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 3, 2021, I filed this document with the Court via ECF, which

will electronically notify all counsel of record.


                                                    /s/ Douglas N. Letter
                                                    Douglas N. Letter
